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                                      EXHIBIT B




DOCS_DE:238974.2 05233/003
                                                                                Exhibit B


                                                         Delivery &                                            Marketing Exp Amount Open
Store #         Store Name    Merchandise   Royalty     Shuttle Fees  Warranty       Other     Statement Total   Invoice     from -9/30/19 Note Receivable Total AR
          217 Coralville     $ 740,400.75 $   2,428.42 $      514.12 $ 10,394.93 $   44,220.73 $ 797,958.95 $ 13,039.93 $ 363,034.60 $ 376,433.00 $ 1,550,466.48
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